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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

MERCK SHARP & DOHME LLC,                                        *

                           Plaintiff,                           *

         v.                                                     *        Civil Case No.: 22-3059-JRR

THE JOHNS HOPKINS UNIVERSITY,                                   *

                           Defendant.                           *

*        *        *        *        *        *        *         *        *        *        *        *        *

                                        MEMORANDUM OPINION

         The court has before it Plaintiff Merck Sharp & Dohme LLC’s Motion to Stay Pending the

U.S. Patent Office’s Inter Partes Review Proceeding (the “Motion”), Defendant The Johns

Hopkins University’s opposition to same, as well as Plaintiff’s reply. (ECF Nos. 116, 124, 125.)

The court has reviewed the parties’ submissions; no hearing is necessary. Local Rule 105.6 (D.

Md. 2023).

I.       INTRODUCTION

         There is no dispute that the court has authority to stay this action pending the decision of

the United States Patent Office’s Patent Trial and Appeal Board (“PTAB”) following its inter

partes review (“IPR”) of JHU’s U.S. Patent No. 11,591,393 (the “’393 patent”) as set forth in its

decision at IPR2024-00240. 1 (Motion at Ex. A-1, ECF No. 116-3.)                           Importantly,            the

PTAB’s final IPR determination as to the ‘393 patent is due by June 13, 2025 (subject to a

maximum 6-month extension for “good cause”). 35 U.S.C. § 316(a)(11).




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 For efficiency, the court will not recite here the procedural backdrop to the Motion except where necessary to address
the parties’ disputes relevant to the factors the court assesses in determining whether to grant or deny the Motion.
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        The court assesses the Motion based on the following non-exhaustive factors: (1) stage of

the proceedings; (2) whether a stay would simplify trial and other issues before the court; and (3)

whether a stay would unduly prejudice JHU as the non-movant.

II.     ANALYSIS

        A. Stage of the Proceedings

        With respect to the stage of the proceedings, 2 although Merck’s initial brief rather

understates the extent of discovery the parties have engaged in, discovery does not close until

August 15, 2024 (two months following the filing of the Motion); no depositions had been taken

(although at least one was scheduled to take place and the parties had been in communications

about setting a deposition schedule); the parties are in the throes of paper discovery and document

exchange – with each party expecting and demanding continuing production by the other; 3 expert

witnesses have been disclosed, although reports have not been exchanged and are not due until

September 16, 2024; the claim construction hearing was more than two months away (August 20,

2024) (and is, as of this writing, seven weeks away), although the parties have completed briefing;

dispositive motions are due January 2, 2025; and no trial date has been set.

        The court is persuaded that the proceedings are in the relatively earlier stage, which is not

to say the parties have not invested time and attention to developing the record and evidence for

the Markman hearing and trial, but rather that resources have not been spent on the majority of

pretrial events. No depositions had been taken as of the filing of the Motion, paper discovery is

far from complete (according to the parties’ respective positions as to what has been produced and

what remains outstanding – indeed, discovery disputes exist and have been outlined by the parties



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  The court considers the above-identified stay factors as of the time the Motion was filed – June 14, 2024.
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  By order issued June 21, 2024, United States Magistrate Judge Aslan granted Merck’s motion for protective order
(to stay discovery pending this court’s ruling on the Motion). (ECF No. 123.)

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for consideration by Judge Aslan, who has stayed discovery pending the instant opinion and order),

the Markman hearing is nearly two months away, no dispositive motions are pending, and trial is

far from being scheduled (with many contingencies to bear for that to happen). In summary, the

court is persuaded the stage of the proceedings is sufficiently early that a stay pending IPR will be

neither wasteful of, nor render meaningless, the parties efforts. Indeed, while not dispositive, the

parties are expected to make considerable use of what has been developed in discovery thus far

before the PTAB at the IPR trial.

        B. Whether a Stay Would Simplify Trial and Other Issues Before the Court

        The court is persuaded that a stay has a strong likelihood of simplifying and streamlining

material issues before the court, including pre-trial and trial issues in contest – this is particularly

so given the PTAB’s finding that Merck presented a “compelling” challenge to the ‘393 patent, a

finding reserved for challenges “in which the evidence, if unrebutted in trial, would plainly lead to

a conclusion that one or more claims are unpatentable by a preponderance of the evidence.”

(Motion at Ex. A-5, ECF No. 116-7, Memorandum of United States Patent and Trademark Office

(“USPTO”) issued June 21, 2022, by USPTO Under Secretary of Commerce for Intellectual

Property and Director of USPTO.) And, although not determinative, the court appreciates that

USPTO post-grant proceedings, including IPR, exist as a means of patent issuance quality control

and to reduce the prospect of comparatively inefficient and expensive Article III litigation, and the

concomitant burden on Article III courts. (Further, the court notes that the PTAB declined to stay

IPR pending the outcome in this litigation.) Finally, Merck has sought IPR of all patents at issue

in the instant action; given the similarity of the patents and the common basis of Merck’s IPR

petitions (which JHU has expressly acknowledged before the PTAB), it is reasonable to expect

that the PTAB will grant IPR of additional patents at issue before this court. Depending on the



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outcome of IPR – even if only as to the ‘393 patent – the matters before the court could be

fundamentally altered. The prospect of duplication of efforts (by the parties and the court) and

risk of inconsistent outcomes (in the absence of a stay) weighs heavily in favor of a stay.

       JHU’s contention that Merk’s breach of contract action should proceed even if the court

stays JHU’s counterclaims pending the determination of the PTAB is unpersuasive. Merck’s

breach of contract claim and JHU’s counterclaims are factually, and therefore evidentiarily,

entwined. Even were it the case that the breach of contract claim could go forward without turning

the counterclaims topsy-turvy, material inefficiency weighs in favor of keeping the parties’ claims

and counterclaims together as a single litigation unit – from the prospect of judicial resources,

attorneys’ fees and expenses, witness burden, and jury selection, time and attention.

       C.      Degree of Prejudice on JHU

       Merck urges that because JHU is not a direct market competitor, it is a “non-practicing

entity” seeking monetary relief only. The court agrees with JHU that this oversimplifies JHU’s

posture in the medical industry because while there is a “cloud” over these patents and questions

linger as to whether it breached its contract with Merck, JHU’s ability to fund research with patent

license revenue is hamstrung. The court also notes, however, that JHU elected not to seek an

audience with the court on alleged infringement until it was sued for breach of contract. The court

intends no commentary whatsoever as to the merits of JHU’s counterclaims, rather only to

acknowledge that JHU did not independently pursue its claims with the urgency it now describes

is at hand. Further, inasmuch as the PTAB is statutorily bound to issue its opinion on the ‘393

patent less than a year from now, the court is unpersuaded that JHU’s licensure challenges pose

undue prejudice. (Although litigation expense is typically not considered relevant in evaluating

whether a stay would contribute to prejudice a party might suffer if litigation were suspended, to



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the extent litigation expense is a relevant prejudice consideration, the court is not persuaded that a

stay would impose undue prejudice due to the discovery efforts JHU has undertaken. See Section

II A, supra.)

       D.       Other Considerations: Merck’s Litigation Strategy/Conduct and the PTAB
                Opinion on Merck’s IPR Petition

       The court notes here JHU’s complaint that Merck has dragged its feet throughout

discovery, including in scheduling depositions; JHU’s expressed frustration and consternation that

Merck, in JHU’s view, has marshaled its litigation strategy to enable it to request the stay the court

now considers; and, specifically, JHU’s contention that Merck’s pursuit of IPR was dilatory –

essentially a slow roll to enhance the likelihood that it would prevail in a motion for stay of this

case. Relatedly, JHU further urges that Merck chose this forum first and the court should require

that Merck stick with it, and not countenance a stay in favor of Merck’s drive to upend JHU’s

patents through IPR.

       JHU also goes to great lengths in its opposition papers to explain its position that the PTAB

“got it wrong” in its grant of IPR – specifically because, in JHU’s view, the PTAB’s construction

of “in response to” is nonsensical and because both parties disavow (here) that “in response to”

requires construction. (This last point, JHU urges, further demonstrates the dubious nature of

Merck’s intellectual honesty and candor before this tribunal, PTAB or both.)

       At bottom, the court appreciates JHU’s irritation about what it views as unsportsmanlike

conduct (to put it mildly). While this court has not had a front row seat to the issues about which

JHU complains (and discovery disputes have been referred to Magistrate Judge Aslan), none of

these frustrations addresses or bears upon the key considerations material to the court’s




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determination of whether the posture of the case and the nature and scope of the PTAB’s IPR of

the ‘393 patent warrant a stay pending the PTAB’s ruling. 4

III.     CONCLUSION

         For the reasons set forth herein, by separate order, the Motion is granted.



                                                      /S/

June 29, 2024                                         ______________________
                                                      Julie R. Rubin
                                                      United States District Judge




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  Whether or not the court agrees with the PTAB in its opinion on Merck’s IPR petition is of no moment and fails to
consider the degree to which IPR will inform the core issues before the court; and, therefore, the risk of inconsistent
outcomes should this court proceed notwithstanding parallel IPR, which will almost certainly conclude before trial in
this case.


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